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                         Exhibit 2
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From:               Rohrbach, Andrew (USANYS)
To:                 Kudla, Danielle (USANYS); Sassoon, Danielle (USANYS); Rehn, Nathan (USANYS); Roos, Nicolas (USANYS);
                    Raymond, Samuel (USANYS)
Cc:                 Rohrbach, Andrew (USANYS)
Subject:            VC with Jason Linder re Ryan Salame
Date:               Friday, April 28, 2023 2:59:27 PM


4/28/23
Jason Linder
Gina Parlovecchio
Maggie Vander Woude
AR, SR, TR, DK, DS

         DS: Salame has been a subject of the investigation, but the investigation has been active and
         ongoing. Plan now is to review high level areas where Salame has exposure or we have
         uncovered criminal conduct. Expect to seek authorization to indict, although exact charges
         and recommendation have not been finalized. If JL can represent on this call or sometime
         after that RS wants to explore a potential pre-indictment resolution, we can provide
         additional information about our view of the evidence.
         DS: On substance, appreciate engagement and have taken JL’s arguments seriously. Most
         significantly, on wire fraud, want to be candid that RS knew FTX customer funds were
         comingled and AR was spending those funds, but currently persuaded that there is insufficient
         evidence that RS was aware of misreps to FTX customers, although that could change. Don’t
         credit that RS was unaware that AR was routinely using customer funds.
         DS: Otherwise, on areas of prior discussion, contemplating charges on bank fraud, 1960,
         conspiracy to violate the campaign finance laws, and Nov. 2022 withdrawals as engaging in
         monetary transactions in criminally derive property. CF charges also now include conspiracy
         with MB to unlawfully fund her campaign, discussed yesterday.
         DS: Want to flag that there areas of minimization. One example is the charged FCPA Chinese
         bribery scheme. You previously said RS was generally aware that an account on a Chinese
         exchange was frozen and FTX/Alameda made a payment of $50M. We have evidence that RS
         was involved in efforts to unfreeze the accounts, including by opening crypto accounts to
         enable self-trading. Our understanding is that he used the PII of people he identified as Thai
         prostitutes to open the accounts. JL: Do you have evidence that he was more involved in the
         bribery? DS: Not the Chinese bribery, but good segue into new areas of criminal conduct.
         DS: New areas of criminal exposure: (1) evidence that Salame was involved in FCPA scheme in
         the Bahamas, in which he supervised efforts to pay bribes to immigration authorities to help
         get FTX employee and associates into the country; (2) evidence of distribution quantity
         narcotics trafficking; (3) paying for prostitutes, including for FTX VIP clients; (4) failure to pay
         taxes on 2021 bonus; (5) have evidence that RS arranged to obtain unauthorized preferential
         access to tokens on FTX.
         DS: In sum, variety of criminal conduct involving RS, at least some of which we are considering
         charging, and all of which we are actively investigating. See mutual interests in reaching a
         disposition pre-indictment. It would be a felony disposition, but open to a favorable
         resolution with a lower statutory maximum if that included a consent forfeiture agreement.
         Before engaging or providing more information, want to understand whether there is good
         faith interest in a resolution.
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      JL: Seizure of phones yesterday – why, in light of the productions we’ve made to you? DS: We
      were investigating new activity, did not want to look for it in the form of document requests
      to you.
      JL: Will discuss all this with the client. There will probably be more questions later.
      DS: One question for you, which we didn’t want to raise before the search. MB’s status has
      shifted. Any information you can share about your continued representation with her?
      JL: Still digesting, but would like an opportunity to engage in a dialogue with SDNY about MB.
      Is it just the transactions in June? AR: Not just in June, but through the summer. DS: Without
      making promises outside the four corners of the plea agreement, but as is often the practice
      here, if we do reach a resolution, we expect that we will conclude the aspects of our
      investigation that concern RS but not SBF.
      JL: We appreciate the candor and dialogue. Will circle back to you, including about whether
      to have a follow up conversation later today or another time.

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